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UNITED STATES DISTRICT COURT
SOUTHERN DISTICT OF NEW YORK


 QUINTESSA HUEY, Individually and on behalf            Case No.: 1:24-cv-01910-CM
 of All Others Similarly Situated,
                                                       AMENDED COMPLAINT FOR
                            Plaintiff,                 VIOLATIONS OF FEDERAL
                                                       SECURITIES LAWS
        vs.
                                                       CLASS ACTION
 ANAVEX LIFE SCIENCES CORPORATION
 and CHRISTOPHER U. MISSLING,                          DEMAND FOR JURY TRIAL

                            Defendants.


        Lead Plaintiff Quintessa Huey (“Plaintiff”), individually and on behalf of all other persons

similarly situated, by her undersigned attorneys, alleges the following based upon personal

knowledge as to herself and her own acts, and upon information and belief as to all other matters,

based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys, which

included, among other things, a review of documents filed by Anavex Life Sciences Corporation

(“Anavex” or the “Company”) with the United States Securities and Exchange Commission

(“SEC”), wire and press releases, analyst reports and news articles, information readily obtainable

on the Internet, and other available material and data.

        Plaintiff believes that substantial evidentiary support will exist for the allegations set forth

herein after a reasonable opportunity for discovery.

I.     NATURE OF THE ACTION

       1.      This is a federal securities action on behalf of all persons who purchased Anavex

stock on the NASDAQ between February 1, 2022 and January 1, 2024, inclusive (the “Class

Period”), against Anavex and certain of its officers and/or directors for violations of the Securities

Act of 1934 (the “1934 Act”). As set forth below, Defendants violated Section 10(b) of the 1934

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Act by failing to disclose pertinent information relevant to the Company or, alternatively, providing

information about the Company which was misleading or deceptive.

       2.      Anavex is a biopharmaceutical company attempting to develop treatments for

central nervous system diseases. To date, Anavex has never successfully completed a clinical trial

program, has never received approval from the FDA to market any of its drugs, and has never

generated any revenue from the sale of its products. Yet Anavex has garnered tremendous interest

among retail investors through colorful press releases, third-party promoters, and hyped-up

announcements about its latest and greatest discoveries and clinical trials. Anavex has taken

advantage of this retail interest over the years and raised millions of dollars in new investor money

through at-the-market stock sales. This money, in turn, has kept Anavex well-capitalized and

allowed its longtime CEO, Defendant Christopher U. Missling (“Missling”), to line his pockets

with ludicrous multi-million dollar compensation packages. The events at issue in this lawsuit

comprise just the latest instance of investor abuse at the hands of Anavex and Missling.

       3.      ANAVEX 2-73 is Anavex’s lead drug candidate. During the Class Period, Anavex

was testing the drug in various clinical trials for the treatment of Rett Syndrome. The relevant

clinical trials included Anavex’s U.S.-based Phase 2 trial, a Phase 3 trial referred to as the AVATAR

trial, and a Phase 2/3 trial referred to as the EXCELLENCE trial. Unbeknownst to investors, the

clinical data generated in these trials was insufficient to support an application for regulatory

approval with the FDA. However, instead of disclosing that stark reality, Anavex and Missling

repeatedly obscured the truth by mischaracterizing the results. They did this by presenting

investors with data using selective “endpoint” evaluations even though these “endpoint”

evaluations were not permitted by the FDA.




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       4.      All clinical trials rely on endpoint evaluations or measurements to assess the

clinical benefit of the drug being tested. The endpoints are predefined within the clinical trial’s

study protocol. In the field of Rett Syndrome therapeutics, the FDA requires a specific co-primary

endpoint that must be used in any clinical trial for a Rett Syndrome drug: the Rett Syndrome

Behavior Questionnaire (“RSBQ”) anchored with the Clinical Global Impression Scale–

Improvement (“CGI-I”). The FDA determined this requirement in October 2017 in connection

with a Rett Syndrome drug named DAYBUE.

       5.      At all relevant times during the Class Period, Missling knew that the FDA required

RSBQ with CGI-I as a co-primary endpoint. Yet despite this knowledge, Missling consistently and

repeatedly told analysts and investors that Anavex would use a variation of these endpoints in its

clinical trials. He referred to this variation as the Rett Syndrome Behavior Questionnaire – Area

Under the Curve (“RSBQ AUC”). By making these representations, Missling created the false

impression that Anavex would in fact use this endpoint in its trials and that the FDA had authorized

Defendants to do so, which was not the case.

       6.      There is a significant and material difference between the FDA-approved RSBQ

and CGI-I endpoints on the one hand and Anavex’s RSBQ AUC endpoint on the other hand. The

former measures a patient’s improvement by comparing their health at the beginning of treatment

and their health at the end of treatment; the latter takes readings throughout the course of treatment

thereby allowing multiple readings to influence the final result. Put differently, RSBQ AUC could

allow Anavex to claim success even though a patient was just as sick at the end of treatment than

she was at the beginning of treatment.

       7.      That is precisely what Anavex and Missling did. Knowing the benefits of its RSBQ

AUC endpoint, they used it to their advantage to provide investors and analysts with a misleading



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impressions of the clinical data they obtained from their trials. The truth concerning ANAVEX 2-

73 and its ability to treat Rett Syndrome did not emerge until the end of the Class Period when

Defendants finally admitted to the public that the drug did not demonstrate a clinical benefit under

the FDA-approved co-primary endpoints, i.e., RSBQ and CGI-I.

       8.      Defendants’ deception gave investors false hope that ANAVEX 2-73 had the

clinical data behind it to secure regulatory approval on the timetable they claimed. Consequently,

Defendants’ false statements about ANAVEX 2-73 misled investors and analysts in terms of

valuing Anavex and its prospects for commercializing a Rett Syndrome treatment. For investors

who bought in on the hype around Anavex’s supposed clinical trial success, they suffered

significant damages when the truth finally revealed itself. Defendants should be held accountable.

II.    JURISDICTION AND VENUE

       9.      Jurisdiction is conferred by Section 27 of the 1934 Act, 15 U.S.C. §78aa. The claims

asserted herein arise under Sections 10(b) and 20(a) of the 1934 Act, 15 U.S.C. §§78j(b) and 78t(a),

and SEC Rule 10b-5, 17 C.F.R. §240.10b-5.

       10.     Venue is proper in this District pursuant to Section 27 of the 1934 Act. The

violations of law complained of herein occurred in part in this District, including the dissemination

of materially false and misleading statements herein into this District.

       11.     In connection with the acts alleged in this Complaint, Defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including but not limited

to, the mails, interstate telephone communications, and the facilities of the national securities

markets.




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III.     PARTIES

         12.   Lead Plaintiff Quintessa Huey purchased Anavex stock as described in the

Certification filed previously in connection with her motion for lead plaintiff and incorporated by

reference. Dkt. No. 15-1. Plaintiff suffered damages in connection with her purchase of Anavex

stock.

         13.   Anavex is incorporated in Delaware. Anavex’s headquarters is 630 5th Avenue,

20th Floor, New York, New York, 10111. Shares of the Company’s stock trade on the NASDAQ

under the ticker symbol “AVXL.”

         14.   Missling is and was at all material times Board Chair, CEO, President, and

Secretary of Anavaex.

         15.   Missling (the “Individual Defendant”), because of his position with the Company,

possessed the power and authority to control the content’s of Anavex’s quarterly reports, press

releases, and presentations to securities analysts, money and portfolio managers, and investors,

i.e., the market. He was provided with copies of the Company’s reports and press releases alleged

herein to be misleading prior to or shortly after their issuance and had the ability and opportunity

to prevent their issuance or cause them to be corrected. Because of his position with the Company

and his access to material information available to him but not the public, the Individual Defendant

knew that adverse facts specified herein had not been disclosed to and were being concealed from

the public and that the positive representations being made were then materially false and

misleading. The Individual Defendant is liable for the false statements pleaded herein.




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IV.    SUBSTANTIVE ALLEGATIONS

                                     Corporate Background

       16.     Originally named Thrifty Printing Inc., Anavex began as a provider of online

photofinishing services. Then, in early 2007, Anavex announced that it would be changing its name

(to Anavex) and reemerging as a biopharmaceutical company. The press release announcing the

change stated, in pertinent part, as follows: “We have changed our name to reflect the new direction

of the Company which is intended to be development of medicinal drugs under a letter of intent

announced December 28, 2006. Under the letter of intent, the [C]ompany is to acquire a portfolio

of innovative drug compounds.”

       17.     Anavex has generated nothing in terms of revenue since entering the

biopharmaceutical industry. Its lead drug candidate is ANAVEX 2-73 which, according to Anavex,

is being developed to treat Alzheimer’s disease, Parkinson’s disease, and other central nervous

system diseases, including Rett Syndrome. Despite years of testing, Anavex has not completed

successfully a clinical trial program for ANAVEX 2-73 and, consequently, has not submitted an

NDA for ANAVEX 2-73 to the FDA. Without marketing approval from the FDA, Anavex has

accumulated a deficit of approximately $200 million (as of September 30, 2021).

       18.     To fund operations, Anavex has traditionally relied on selling stock to retail

investors through stock purchase agreements with Lincoln Park Capital. The agreements gave

Anavex the right to sell to Lincoln Park Capital various amounts of stock. After purchasing the

shares, Lincoln Park Capital would then resell them to retail investors in the market. Anavex

entered into several of these agreements since 2013, including: a) July 2013 for $10 million; b)

October 2015 for $50 million; c) June 2019 for $50 million; and d) February 2023 for $150 million.




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Anavex has also conducted at-the-market offerings, including a July 2018 offering for $50 million

and May 2020 offering for $50 million.

       19.     Anavex’s ability to raise money through these equity offerings depended on

maintaining an elevated stock price as well as creating demand for the stock in the market. To do

this, Anavex historically relied on third-party “consultants” to promote its stock. For example, in

2013, Anavex paid $128,575 for investor relations, an increase of almost 20% from the prior fiscal

year. For fiscal 2014, Anavex’s total operating expenses increased to $2.9 million, which was

“mainly attributable” to “an increase in investor relations expenses.” In prior years, Anavex

engaged an entity named Primoris to “implement a communications program to support Anavex’s

corporate growth strategy.” Primoris’ other clients at the time consisted of penny stock companies.

Regulatory agencies, including the British Columbia Securities Commission in 2013 and the SEC

in 2015, have investigated Anavex for its promotional tactics.

       20.     Despite having never generated any revenue, Defendant Missling has received

exorbitant compensation. Missling’s total compensation for 2021 was approximately $9.4 million;

$6.7 million for 2022; and $3.8 million for 2023.

       21.     Missling’s compensation consisted of a base salary, cash bonus, and equity

compensation awards, all of which increased based upon Missling’s ability to publicize and

advance Anavex’s drugs into clinical trials. For example, in April 2022, Missling’s annual salary

increased from $550,000 to $700,000 based in part on Anavex’s advances in clinical trials.

Likewise, in June 2022, Missling received options worth approximately $6 million that would vest

upon hitting performance milestones, including the topline data readout for the EXCELLENCE

trial and publication of the AVATAR trial data. Missling’s annual compensation was approximately

10x that of Anavex’s median employee.



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                                  The U.S.-Based Phase 2 Trial

       22.     Anavex’s lead drug candidate has always been ANAVEX 2-73. The drug was

initially introduced to investors as a treatment for Alzheimer’s Disease and then, over the years,

expanded as a possible treatment for other neurological disorders such as Parkinson’s Disease. The

possibility of using ANAVEX 2-73 as a treatment for Rett Syndrome first appeared on investor’s

radars when Anavex reported “positive preclinical data” in February 2016. Shortly thereafter, in

May 2016, Anavex secured Orphan Drug Designation for ANAVEX 2-73 in Rett Syndrome.

       23.     In 2017, Anavex announced its receipt of a financial grant from the International

Rett Syndrome Foundation to cover clinical trial costs for a U.S. multicenter Phase 2 clinical trial

of ANAVEX 2-73 for the treatment of Rett Syndrome. The Phase 2 trial was scheduled to begin

upon the FDA’s approval of the Company’s investigational new drug (IND) application.

       24.     Anavex received approval for the Phase 2 trial in October 2018 and commenced

the study several months later in March 2019. The trial was a randomized double-blind, placebo-

controlled safety, tolerability, pharmacokinetic and efficacy study. Pharmacokinetic and dose

findings were investigated in a total of 25 patients over a 7-week treatment period. Primary and

secondary endpoints include safety as well as Rett syndrome conditions such as cognitive

impairment, motor impairment, behavioral symptoms and seizure activity.

       25.     Analysts applauded Anavex’s decision to expand ANAVEX 2-73 to Rett Syndrome.

For example, Roth Capital Partners wrote in January 2019 that the Rett Syndrome program and,

in particular, the Phase 2 study was “high risk and high reward” given its “orphan population with

no approved therapy or standard of care.” This, in turn, could support an “accelerated approval”

and “premium orphan pricing.”




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                                        The AVATAR Trial

       26.      In June 2019, with its U.S.-based Phase 2 trial underway, Anavex commenced its

AVATAR trial. Anavex’s AVATAR trial was initially registered as a Phase 2 trial to evaluate the

safety and efficacy of ANAVEX 2-73 in approximately 33 patients with Rett Syndrome over a 7-

week treatment period.

       27.      Anavex posted its trial protocol for the AVATAR trial on ClinicalTrials.gov.

ClinicalTrials.gov is a website and online database of clinical research studies and information

about their results. The website launched in 2000 and was created as part of the Food and Drug

Administration Modernization Act of 1997. This law required the U.S. National Institutes of

Health (NIH) to create a database of clinical trials that have an investigational new drug (IND)

application to test investigational drugs for serious or life-threatening diseases. Since then,

ClinicalTrials.gov has expanded based on other laws, regulations, and policies (including the FDA

Amendments Act of 2007) and requires sponsors and investigators to submit research studies and

more information about these studies, including in particular the submission of full trial protocols

and statistical analysis plans. These laws, regulations, and policies require sponsors to provide the

public with the necessary information about ongoing and completed studies.

       28.      According to Anavex’s submission of the AVATAR trial protocol on

ClinicalTrials.gov dated May 6, 2019, Anavex intended to use the following endpoints for the

AVATAR trial:

 Primary Outcome Measures               1. Incidence of Adverse Events
                                           Incidence of Adverse Events
                                           [Time Frame: 7 weeks]

                                        2. Maximum Plasma Concentration [Cmax] of
                                           ANAVEX2-73
                                           PK of ANAVEX2-73 and metabolite
                                           [Time Frame: 7 weeks]

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                                       3. Area Under the Curve [AUC] of ANAVEX2-73
                                          PK of ANAVEX2-73 and metabolite
                                          [Time Frame: 7 weeks]

                                       4. Lipid panel
                                          Significant laboratory findings
                                          [Time Frame: 7 weeks]

 Secondary Outcome Measures            1. RSBQ
                                          Change from baseline to End of Treatment (EOT) in
                                          the Rett Syndrome Behaviour Questionnaire (RSBQ)
                                          [Time Frame: 7 weeks]

                                       2. CGI-I
                                          Change from baseline to End of Treatment (EOT) in
                                          the Clinical Global Impression Improvement Scale
                                          (CGI-I) score
                                          [Time Frame: 7 weeks]

          29.   Analysts reported favorably on the start of the AVATAR trial. In particular, Roth

Capital Partners wrote in July 2019 that the combination of the U.S.-based “Phase 2 study topline

data emerging in YE19 and into early-2020” followed by the AVATAR study data “could provide

a commercial path for ANAVEX 2-73 as the first-to-market for the treatment of Rett [S]yndrome

in US and Europe.”

                                   The EXCELLENCE Trial

          30.   Anavex commenced a third trial shortly after the start of the AVATAR study. On

September 4, 2019, while the U.S.-based Phase 2 trial and AVATAR trial were both underway,

Anavex started the EXCELLENCE trial to test ANAVEX 2-73 in Rett Syndrome. The trial was a

Phase 2/3 study in pediatric patients with Rett Syndrome designed to evaluate the safety and

efficacy of ANAVEX 2-73 in at least 69 pediatric patients, aged 5 to 18, over a 12-week treatment

period.




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       31.    According to Anavex’s submission of the EXCELLENCE trial protocol on

ClinicalTrials.gov dated March 8, 2020, Anavex intended to use the following endpoints for the

EXCELLENCE trial:

 Primary Outcome Measures             1. RSBQ Change from baseline to End of Treatment
                                         (EOT) in the Rett Syndrome Behaviour
                                         Questionnaire (RSBQ)
                                         [Time Frame: 12 weeks]

                                      2. CGI-I Change from baseline to End of Treatment
                                         (EOT) in the Clinical Global Impression Improvement
                                         Scale (CGI-I) score
                                         [Time Frame: 12 weeks]

 Secondary Outcome Measures           1. Anxiety, Depression, and Mood Scale (ADAMS)
                                         Anxiety, Depression, and Mood Scale (ADAMS)
                                         [Time Frame: 12 weeks]

                                      2. Motor Behavioral Assessment-7 dynamic pediatric
                                         items (MBA-Ped7)
                                         Motor Behavioral Assessment-7 dynamic pediatric
                                         items (MBA-Ped7)
                                         [Time Frame: 12 weeks]

                                      3. Children's Sleep Habits Questionnaire (CSHQ)
                                         Children's Sleep Habits Questionnaire (CSHQ)
                                         [Time Frame: 12 weeks]

                                      4. Seizure Frequency via seizure diary
                                         Seizure Frequency via seizure diary
                                         [Time Frame: 12 weeks]

                                      5. Incidence of Adverse Events
                                         Incidence of Adverse Events
                                         [Time Frame: 12 weeks]

       32.    Importantly, the EXCELLENCE study’s trial protocol identified RSBQ with CGI-

I as the study’s co-primary endpoints instead of the RSBQ AUC measure that Anavex would

ultimately end up using when reporting topline results for the AVATAR trial. The study protocol

identified RSBQ and CGI-I as the trial’s co-primary endpoints because failure to do so would have



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disqualified it from serving as a pivotal study in support of any future NDA for ANAVEX 2-73 to

treat Rett Syndrome, given the FDA’s requirement to use RSBQ with CGI-I as co-primary

endpoints in Rett Syndrome clinical trials.

       33.     Analysts reported favorably on the EXCELLENCE trial. For example, Cantor

Fitzgerald wrote in August 2020 that the EXCELLENCE trial presented a “possibility that a more

robust signal may be observed” in the study and that “positive results from these studies may be

sufficient to file an NDA for [Rett Syndrome] . . . .”

                                      The LAVENDER Trial

       34.     Anavex was not alone in its efforts to develop a treatment for Rett Syndrome.

Neuren Pharmaceuticals, Ltd., started developing DAYBUE (named trofinetide at the time) in

2012. Neuren Pharmaceuticals conducted two Phase 2 trials for DAYBUE with the last one

completing in 2016. By this point, DAYBUE had already been granted FDA Fast Track Status and

Orphan Drug Designation in the U.S. and Europe for the treatment of Rett Syndrome. Though

neither company mentioned the other in its SEC filings, both Anavex and Acadia Pharmaceuticals

were attempting to be the first to obtain FDA approval for a Rett Syndrome treatment.

       35.     On October 12, 2017, Neuren Pharmaceuticals held its end-of-phase 2 meeting with

the FDA. End-of-phase 2 meetings are standard, required meetings where the FDA will consider,

comment, revise and/or approve plans for further clinical trials, i.e., pivotal Phase 3 trials intended

to be used for New Drug Applications in the future. The purpose of an end-of-phase 2 meeting is

to determine the pathway for proceeding to a Phase 3 study, to evaluate the Phase 3 plan and

protocol for adequacy, to assess pediatric safety and effectiveness, and to identify any additional

information that would be needed to support a marketing application. This provides the sponsor

(drug company) an opportunity to get FDA input prior to conducting the Phase 3 study.



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       36.    At the end-of-phase 2 meeting, Neuren Pharmaceuticals proposed a subsequent

Phase 3 study that would be a double-blind, placebo-controlled, parallel-group study design. The

FDA advised that there were multiple concerns with the RSBQ as a primary endpoint. At the

encouragement of the FDA, Neuren Pharmaceuticals agreed to study the Clinical Global

Impression-Improvement (CGI-I) scale as an anchoring functional measure as a co-primary

endpoint with the Rett syndrome Behavior Questionnaire (RSBQ). Thus, the CGI-I was directly

recommended and approved by the FDA as an anchoring measure of function to be used as a co-

primary endpoint.

       37.    In 2018, Neuren Pharmaceuticals licensed DAYBUE to Acadia Pharmaceuticals

instead of proceeding with the Phase 3 study itself. The license agreement granted Acadia

Pharmaceuticals an exclusive North American license to develop and commercialize DAYBUE

for Rett Syndrome.

       38.    In October 2019, Acadia Pharmaceuticals commenced its Phase 3 LAVENDER

study. The study was a randomized, double-blind placebo-controlled study evaluating DAYBUE

(trofinetide) in approximately 180 girls and young women 5 to 20 years of age with Rett Syndrome.

Half of study participants were to receive DAYBUE and the other half to receive placebo. Co-

primary efficacy endpoints of the study were set to measure symptom improvement using the Rett

Syndrome Behavior Questionnaire (RSBQ), a caregiver assessment, and the Clinical Global

Impression Scale-Improvement (CGI-I), a clinician assessment, as required by the FDA pursuant

to its direction at the end-of-phase 2 meeting in October 2017. Acadia Pharmaceuticals expected

results from the LAVENDER trial in 2021.




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                                           Trial Results

                                   The U.S.-Based Phase 2 Trial

       39.     Anavex’s U.S.-based Phase 2 trial was the first to finish. On December 15, 2020,

Anavex issued a press release announcing top-line results from the trial. In pertinent part, the top-

line results from the press release were as follows:

       The primary endpoint of the trial was safety. The convenient oral liquid once-daily
       dosing of 5 mg ANAVEX®2-73 was well-tolerated and demonstrated dose-
       proportional PK (pharmacokinetics). Adverse events related to study drug were
       similar between ANAVEX®2-73 (13.3%) and placebo (10%), with no reported
       serious adverse events (SAEs). The safety profile of ANAVEX®2-73 in this trial is
       consistent with prior clinical trial data.

       All secondary efficacy endpoints of the trial showed statistically significant and
       clinically meaningful sustained improvements for ANAVEX®2-73 compared to
       placebo, consisting of the Rett Syndrome Behaviour Questionnaire (RSBQ) (p =
       0.048) and the Clinical Global Impression Improvement Scale (CGI-I) score (p =
       0.014) in the intent-to-treat (ITT) population (n = 25). Statistically significant
       differences in patient symptoms between the active and placebo groups occurred as
       early as 4 weeks following the initiation of ANAVEX®2-73 administration.
       Improvements in RSBQ Total scores were correlated with parallel decreases
       (improvements) in glutamate plasma levels.

       ...

       “The outcome of this trial is very promising in terms of both safety and clinical
       improvement. Despite the challenges of the older age of the cohort (patients were
       over 18 years of age) and the relatively low dose (5 mg daily), ANAVEX®2-73
       demonstrated clinically meaningful improvements in outcome measures evaluating
       multiple impairments,” commented Walter E Kaufmann, MD, Principal
       Investigator. Subsequent to his appointment as Principal Investigator of this Phase
       2 ANAVEX®2-73 trial in adult Rett syndrome patients, Dr. Kaufmann joined
       Anavex as Chief Medical Officer. He also said, “Moreover, the convergent clinical
       evidence was supported by parallel changes in a key biomarker of disease. This
       strong body of data opens the possibility of successful treatment for both adults and
       children with Rett syndrome and early interventions for modifying the course of
       the disease.”

       Based on the results in this first of its kind U.S. Phase 2 (ANAVEX®2-73-RS-001)
       study in adult patients with Rett syndrome, Anavex is planning to meet with FDA
       to discuss the approval pathway. There are no FDA-approved drugs for Rett
       syndrome. ANAVEX®2-73 has Fast Track designation, Rare Pediatric Disease

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       designation and Orphan Drug designation from the FDA for the treatment of Rett
       syndrome and may be considered for accelerated approval.

                                       The LAVENDER Trial

       40.     Acadia Pharmaceuticals completed its Phase 3 LAVENDER trial for DAYBUE the

following year. On December 6, 2021, Acadia Pharmaceuticals issued a press release announcing

top-line results from the trial. In pertinent part, the top-line results from the press release were as

follows:

       Acadia Pharmaceuticals Inc. (Nasdaq: ACAD) today announced positive top-line
       results from the pivotal, Phase 3 Lavender™ study evaluating the efficacy and
       safety of [DAYBUE] in 187 girls and young women aged 5-20 years with Rett
       syndrome. The 12-week placebo-controlled study demonstrated a statistically
       significant improvement over placebo for both co-primary endpoints. On the Rett
       Syndrome Behaviour Questionnaire (RSBQ), change from baseline to week 12 was
       -5.1 vs. -1.7 (p=0.0175; effect size=0.37). The Clinical Global Impression–
       Improvement (CGI-I) score at week 12 was 3.5 vs. 3.8 (p=0.0030; effect size=0.47).
       The RSBQ is a caregiver assessment of the core symptoms of Rett syndrome and
       the CGI-I is a global physician assessment of worsening or improving of Rett
       syndrome.

       Additionally, [DAYBUE] demonstrated a statistically significant separation over
       placebo on the key secondary endpoint, the Communication and Symbolic
       Behavior Scales Developmental Profile™ Infant-Toddler Checklist–Social
       composite score (CSBS-DP-IT–Social) change from baseline to week 12 was -0.1
       vs. -1.1 (p=0.0064; effect size=0.43).

       “These are encouraging results for patients and families affected by Rett syndrome.
       Patients reported improvements in core symptoms, like being able to respond to a
       choice when asked by their parents, or experiencing more freedom from the
       repetitive hand movements that create obstacles in other areas of their lives,” said
       Jeffrey L. Neul, M.D., Ph.D., Annette Schaffer Eskind Chair and Director,
       Vanderbilt Kennedy Center; Professor of Pediatrics, Division of Neurology,
       Pharmacology, and Special Education, Vanderbilt University Medical Center and
       Lavender study investigator. “The positive Lavender study results support a
       potential treatment for Rett syndrome and represent an important step forward in
       addressing this rare and serious neurological disease.”

       41.     The LAVENDER study results did, in fact, support a potential treatment for Rett

Syndrome. On July 18, 2022, Acadia Pharmaceuticals submitted an NDA for DAYBUE. On March



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10, 2023, the FDA approved the NDA and DAYBUE for treatment against Rett Syndrome.

Importantly, the FDA’s approval was premised upon the LAVENDER study and its primary

endpoint data consisting of RSBQ and CGI-I, which had been required by the FDA during the end-

of-phase 2 meeting back in October 2017.

                                         The AVATAR Trial

       42.     The next trial to finish was Anavex’s AVATAR trial in February 2022. Anavex’s

disclosure of the trial data created significant fallout due to what many analysts and investors

regarded as a last-minute change to the study protocol in an attempt to put a positive spin on the

trial data and conceal potentially negative results.

       43.     The AVATAR study commenced in June 2019 and completed in February 2022.

Throughout the study, Anavex updated the trial protocol multiple times on ClinicalTrials.gov but

kept the primary and secondary endpoints the same until the very end of the trial.

       44.     Likewise, despite hosting a total of 14 quarterly calls, special calls, and inventor

conference presentations, Anavex never disclosed an intent to change the endpoints. For example,

during an earnings conference call on November 24, 2021, Missling stated in pertinent part that:

       Starting with our lead drug candidate 2-73. We expect topline results from the
       second placebo-controlled AVATAR study for the treatment of our patients with
       Rett syndrome, which are expected to be announced around calendar year end 2021.
       This study took place in Australia and the United Kingdom using a higher dose than
       the U.S.-based Phase II study and enrolled 33 patients over a 7-week treatment
       period, including ANAVEX 2-73-specific precision medicine biomarkers.

       ...

       <Pete George Stavropoulos, Cantor Fitzgerald & Co., Research Division – Biotech
       Analyst>: Very helpful. We also saw that you made a few changes to the primary
       and secondary endpoints in the EXCELLENCE study. Can you give us a -- help us
       understand what drove those decisions? Was it a result of advice or interactions
       with the FDA or any other regulatory agency?




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       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Right. So we have noticed that the RSBQ is really the most --
       more rigorous endpoint. It is really going through 45 very dedicated questions and
       detailed questions, which can be answered very precisely. There's also the ability,
       which we have seen and we have demonstrated that in our presentation of doing
       sub-analysis of the sub-scores of the entire score of the RSBQ score. However,
       when we looked at the CGI-I, we noticed that there was a weaker ability to make
       this because it's really a global assessment. And it also has a very known and it's
       published weak, I would say, reliability. But we basically are including that still,
       but we didn't want to overemphasize that score. So that was the background for the
       focus on the RSBQ.

       45.     Despite direct questioning on changing endpoints, and although AVATAR was on

the verge of concluding with topline results to be delivered within weeks of this late November

announcement, Missling did not announce changes to the study design or endpoints during this

call, i.e., the November 24, 2021 earnings conference call.

       46.     On January 15, 2022, the Company updated the AVATAR study design for the tenth

time. The update did not change the endpoint measures.

       47.     Then, finally on January 18, 2022, Anavex updated the AVATAR study design and,

importantly, revised the endpoint measures. The AVATAR trial’s primary and secondary endpoint

measures were revised as follows:

 Primary Outcome Measures              1. RSBQ
                                          Drug exposure-dependent response of the Rett
                                          Syndrome Behaviour Questionnaire (RSBQ) Total
                                          score
                                          [Time Frame: 7 weeks]

                                       2. Incidence of Adverse Events
                                          Incidence of Adverse Events
                                          [Time Frame: 7 weeks]

 Secondary Outcome Measures            1. CGI-I
                                          Drug exposure-dependent response of the Clinical
                                          Global Impression of Improvement Scale (CGI-I)
                                          score
                                          [Time Frame: 7 weeks]



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                         2. Anxiety, Depression, and Mood Scale (ADAMS)
                            Drug exposure-dependent response of the Anxiety,
                            Depression, and Mood Scale (ADAMS)
                            [Time Frame: 7 weeks]

                         3. Maximum Plasma Concentration [Cmax] of
                            ANAVEX2-73
                            PK of ANAVEX2-73 and metabolite
                            [Time Frame: 7 weeks]

                         4. Area Under the Curve [AUC] of ANAVEX2-73
                            PK of ANAVEX2-73 and metabolite
                            [Time Frame: 7 weeks]




                [Remainder of page intentionally blank]




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       48.     For ease of reference, the following table taken from ClinicalTrials.gov illustrates

the revisions to the endpoints:




       49.     Anavex also “upgraded” the AVATAR trial from a Phase 2 trial to a Phase 3 trial,

suggesting it could be used as a “pivotal” study to support an NDA for ANAVEX 2-73. This left

investors with the impression that Anavex’s progress towards achieving regulatory approval was

potentially in line with or relatively equal to Acadia Pharmaceuticals who had just recently

completed the LAVENDER trial for DAYBUE’s NDA.




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       50.     The Company issued no press release nor issued any comment on the change in

primary design, despite having participated in the J.P. Morgan Annual Health Conference just days

before, on January 13, 2022.

       51.     Consequently, when Anavex reported top-line results from the AVATAR trial on

February 1, 2022, it reported endpoint data that was largely unexpected by analysts and investors.

In pertinent part, Anavex reported the following top-line results for the AVATAR:

       Anavex Life Sciences Corp. (“Anavex” or the “Company”) (Nasdaq: AVXL), a
       clinical-stage biopharmaceutical company developing differentiated therapeutics
       for the treatment of neurodegenerative and neurodevelopmental disorders including
       Alzheimer’s disease, Parkinson’s disease, Rett syndrome and other central nervous
       system (CNS) disorders, today reported positive top-line results from the Phase 3
       randomized, double-blind, placebo-controlled AVATAR trial of ANAVEX®2-73
       (blarcamesine) in adult female patients with Rett syndrome and demonstrated a
       statistically significant improvement over placebo for the primary efficacy endpoint
       as well as for all the secondary efficacy endpoints. Convenient once daily oral liquid
       doses of up to 30mg ANAVEX®2-73 were well tolerated with very good
       medication compliance. Rett syndrome is a chronic CNS disease caused by a
       spontaneous mutation of one gene, MECP2.

       ...

       In the primary endpoint, RSBQ AUC, ANAVEX®2-73 induced a statistically
       significant and clinical meaningful improvement in 72.2% of patients as compared
       to 38.5% on placebo; (p = 0.037) with a Cohen’s d effect size of 1.91 (very large).
       The secondary efficacy endpoints also demonstrated statistically significant and
       clinical meaningful improvements. For the ADAMS, a measure of emotional
       behavior symptoms, a significantly higher proportion of ANAVEX®2-73 treated
       adult patients with Rett syndrome (52.9%) than placebo-treated patients (8.3%)
       showed improvement (p = 0.010), which corresponded to a Cohen’s d effect size of
       0.609 (large). For the CGI-I, more patients achieved clinically meaningful CGI-I
       response over the treatment duration in the ANAVEX®2-73-treated group (72.2%)
       than in the placebo group (38.5%); (p = 0.037) with a Cohen’s d effect size of 1.91
       (very large).

       52.     Analysts expressed confusion about the AVATAR outcomes, analyses, and results.

For instance, on February 1, 2022, Yun Zhong of BTIG called out the “surprising primary endpoint


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change” and questioned “what is the true clinical benefit from ANAVEX 2-73 treatment.” Zhong

further wrote, “[t]here could have been less investor confusion if Anavex had chosen to report the

RSBQ total score from the AVATAR study as well [as RBSQ AUC].”

       53.     Also on February 1, 2022, Charles Duncan of Cantor Fitzgerald wrote “AVATAR

P3 Read Makes Us Wonder About Clinical Endpoints in RETT,” and lowered the target on Anavex

shares from $27 to $16. In pertinent part, he wrote:

       Although the primary endpoint of drug exposure-dependent response Rett
       Syndrome Behavior Questionnaire (RSBQ) AUC meets statistical significance
       (p=0.037), we cannot say clinical proof-of-concept has been established until there
       is greater disclosure of the data which demonstrates it using well-defined
       approvable endpoints to underscore clinical utility.

       ...

       Given these observations, and challenges in interpreting some of the efficacy
       endpoints, we note inconsistency with our prior diligence with KOLs on RSBQ,
       which is what we had thought was the primary endpoint, as given on
       clinicaltrials.gov. Therefore, we now believe it is prudent to project that this P3
       may need to be supported with additional clearly positive clinical data to support
       an NDA submission, including possibly conducting an additional P3.

       ...

       Another interesting detail is that Anavex anchored its RSBQ response to the CGI-I
       response, as a result of communication it had with the FDA in which it was relayed
       that the Agency wanted to see clinical outcome impressions linked to RSBQ scores.
       Although this ‘concept’ makes sense to us, as clinical meaningfulness is a key
       consideration for efficacy and thus pharmaco-economic value, in our view, the
       conclusion and timing is odd to us given our past KOL diligence indicating that
       RSBQ is a sufficient pivotal endpoint, and we find the company’s execution even
       more confounding. Rather than redefine the primary endpoint following the
       conduct of the trial (albeit perhaps in advance of unblinding), we would have
       preferred to see greater transparency on RSBQ and CGI-I scores, along with a
       regression analysis showing their correlation.

       54.     Other market analysts explicitly called out Anavex for manipulating AVATAR’s

endpoints and misleading investors. Adam Feuerstein, a senior biotech columnist for STAT News,

told readers that by changing the endpoints on January 18, 2022, Anavex was “allow[ed] to claim

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success when the drug most likely failed.” According to Feuerstein, Anavex switched its endpoints

for the study to a “meaningless RSBQ and CGI ‘responder’ analysis, rather than disclosing

numerical changes in the scales over time,” thereby allowing the Company to “claim[] success

based on 72% of patients showing ‘improvement’ on RSBQ scale vs 38% on placebo.” Feuerstein

contrasted Anavex’s data readout with Acadia Pharmaceuticals’ readout for the LAVENDER study,

which used RSBQ and CGI-I.

        55.        The manner in which Anavex used RSBQ and CGI-I in the AVATAR trial was

nonconventional and inappropriate relative to industry practices and academic standards. RSBQ is

a questionnaire assessment administered to a Rett Syndrome patient by her caregiver. Efficacy is

measured by comparing the patient’s baseline score with her score at the end of the study. To

confirm the reliability of the RSBQ measure, the assessment is anchored with CGI-I. CGI-I is a

similar assessment but completed by the patient’s clinician to assess how much the patient’s illness

has improved or worsened relative to a baseline state at the beginning of the intervention.

Importantly, both measures (RSBQ and CGI-I) compare final end-of-treatment scores against

baseline scores to determine efficacy. These are the FDA-approved endpoints for Rett Syndrome

clinical trials.

        56.        Anavex did not adhere to these FDA-approved endpoints for AVATAR. Instead, it

created a variation of the RSBQ endpoint by taking into account the patient’s “response” to

ANAVEX 2-73 during the course of the trial itself. Put differently, the accepted outcome, RSBQ,

compares a patient’s status at the end of the trial to their status at the start of the trial, while

Anavex’s alternative measurement, which it described as “RSBQ Area Under the Curve” or

“RSBQ AUC”, was a sum of patient RSBQ scores during the trial. Consequently, so long as the

patient exhibited improvement at some point during the course of the trial, Anavex’s RSBQ AUC



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endpoint would potentially show positive results even if the last measurement was the same as or

worse than the initial reading. Anavex claimed that this RSBQ AUC analysis represented “a

summary measure that combine[d] both treatment effect and disease progression into one

composite score.” Anavex provided no evidence that its “RSBQ AUC” approach was validated or

embraced by other researchers or the FDA.

       57.     There is a material difference between RSBQ AUC on the one and RSBQ anchored

with CGI-I on the other hand, as explained above and confirmed by key opinion leaders in the Rett

Syndrome field. A “key opinion leader” refers to someone who is regarded as an expert and

influencer among academic and industry participants. Dr. Daniel Tarquinio is the founder of the

Center for Rare Neurological Diseases and a Rett Syndrome expert who has been actively involved

in the development of efficacy endpoints and biomarker research to improve outcome measures

clinical studies. Dr. Tarquinio is regarded as key opinion leader by analysts. According to Dr.

Tarquinio, Anavex’s proposed RSBQ AUC measurement was “an interesting strategy” but “a little

artificial” and had not been sufficiently tested to qualify as an acceptable primary endpoint.

       58.     The FDA did not accept RSBQ AUC as an endpoint for pivotal Rett Syndrome

clinical trials (i.e., any clinical trial intended to support an NDA); in fact, the FDA required RSBQ

and CGI-I to be used as co-primary endpoints for any pivotal Rett Syndrome clinical trial. Anavex

knew the FDA’s endpoint requirements. Indeed, the FDA instructed Anavex to use these endpoints

when discussing and/or approving: Anavex’s clinical trial plans and Investigational New Drug

applications, or INDs, for the U.S.-based Phase 2, AVATAR, and EXCELLENCE trials prior to

their commencement in March, June, and September 2019, respectively; ANAVEX 2-73’s Rare

Pediatric Disease designation for the treatment of Rett Syndrome in November 2019; Anavex’s




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application for Fast Track status in February 2020; and subsequently thereafter when providing

Anavex with input on its clinical trial designs and regulatory approval packages in February 2023.

       59.     To be sure, Anavex met with the FDA to discuss its development program for

ANAVEX 2-73 for Rett Syndrome between December 2017 and February 2018. Anavex discussed

its proposed study designs for the development of ANAVEX 2-73 during the meeting. In response,

the FDA provided feedback about the study design, including the primary endpoints that would be

required to permit an evaluation of ANAVEX 2-73’s effectiveness and safety. The FDA’s feedback

with respect to the trial design and endpoints is a required component of the pre-IND meeting. See

21 CFR 312.22. Consequently, given that the FDA had already determined that Rett Syndrome

clinical trials needed to use RSBQ and CGI-I as co-primary endpoints, as stated by the FDA during

DAYBUE’s end-of-phase 2 meeting in October 2017, Anavex knew by February 2018 at the latest

that any potential pivotal clinical trial would need to incorporate these endpoints. Anavex received

notice of this requirement at various times thereafter in light of ANAVEX 2-73’s Fast Track

designation, which required Anavex to “receive more intensive guidance on an efficient drug

development program with increased interactions and communications with FDA, including

meetings.” See Best Practices for Communication Between IND Sponsors and FDA During Drug

Development, FDA GUIDANCE (Dec. 2017) (citing CDER MAPP 6025.6 & CBER SOPP 8212).

Anavex’s identification of the RSBQ and CGI-I co-primary endpoints in the EXCELLENCE trial’s

study protocol confirms its awareness of the FDA’s position and understanding that it needed to

adhere to that position if it wanted the trial to support a future NDA for ANAVEX 2-73.

       60.     Feuerstein and other analysts immediately recognized the impropriety of Anavex’s

RSBQ AUC measure and, in turn, doubted the significance and reliability of AVATAR’s supposed




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“positive” results. As a result, Anavex’s stock price fell from $13.08 per share on January 31, 2022

to $11.04 per share on February 1, 2022.

        61.     Defendant Missling responded to the criticism Anavex was receiving from analysts.

In an interview with Investor’s Business Daily, Missling claimed that the changes to the AVATAR

study had been made in December 2021 but not updated on ClinicalTrials.gov until January 18,

2022. Even if Missling changed the trial in December 2021, the changes were still made

approximately three and a half months after Anavex completed testing in the AVATAR trial on

September 30, 2021. Consequently, after the last participant in AVATAR was examined to collect

final data for the primary and secondary outcome measures on September 30, 2021, Anavex

changed the endpoints in December 2021 (according to Missling) or January 2022 (according to

ClinicalTrials.gov), and then reported “positive” results in February 2022 when announcing

completion of the trial. As Investor’s Business Daily pointed out, the timeline of events created the

impression of a company changing the goals when the drug was actually underperforming the

trial’s pre-specified measures.

                                      The EXCELLENCE Trial

        62.     Anavex completed enrollment for the EXCELLENCE trial in February 2023 and

dosing in June 2023. Drug companies typically announce topline results between six and eight

weeks after study completion. Anavex, however, did not report results until January 2, 2024.

        63.     On January 2, 2024, Anavex issued a press release titled, “Anavex Announces

Topline Results from Phase 2/3 EXCELLENCE Clinical Study in Pediatric Rett Syndrome.” In

pertinent part, the press release stated:

        Anavex Life Sciences Corp. (“Anavex” or the “Company”) (Nasdaq: AVXL), a
        clinical-stage biopharmaceutical company developing differentiated therapeutics
        for the treatment of neurodegenerative and neurodevelopmental disorders today
        reported topline results from the randomized, double-blind, placebo-controlled,

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      Phase 2/3 EXCELLENCE clinical trial, which evaluated the clinical efficacy,
      safety, and tolerability of 30 mg ANAVEX®2-73 in 92 pediatric patients with Rett
      syndrome (RTT) between the ages of 5 through 17 years. Participants were
      randomized 2:1 (ANAVEX®2-73 [62 patients] to placebo [30 patients]) for 12
      weeks, followed by a week 16 safety visit. As well, Anavex reported positive Real
      World Evidence (RWE) feedback from Rett syndrome patients under
      Compassionate Use Authorization.

      This was the very first study of ANAVEX®2-73 in pediatric patients with Rett
      syndrome. After 12 weeks, the study showed improvement on the key co-primary
      endpoint Rett Syndrome Behaviour Questionnaire (RSBQ), which is a detailed 45-
      item questionnaire for assessing multiple Rett syndrome characteristics by the
      patients’ caregivers. The other co-primary endpoint, the Clinical Global Impression
      – Improvement scale (CGI-I), which represents a less granular assessment by the
      site investigators using a seven-point scoring (one=“very much improved” to
      seven=“very much worse”), was not met.

      In an ad-hoc analysis, using the predefined mixed-effect model for repeated
      measure (MMRM) method, after 12 weeks of treatment, ANAVEX®2-73-treated
      patients improved LS Mean (SE) -12.93 (2.150) points on their RSBQ total score
      compared to LS Mean (SE) -8.32 (2.537) points in placebo-treated patients. The LS
      Mean difference (SE) of -4.61 (2.439) points between treated and placebo groups
      did not reach statistical significance (n=77; p=0.063). ANAVEX®2-73-treated
      patients demonstrated a rapid onset of action with improvements at 4 weeks after
      treatment with a RSBQ total score LS Mean (SE) -10.32 (2.086) points in the drug-
      treated group compared to a LS Mean (SE) -5.67 (2.413) points in placebo-treated
      patients. The LS Mean difference of -4.65 (2.233) points between treated and
      placebo groups was statistically significant (n=77; p=0.041).

      When looking at other placebo-controlled Rett syndrome trials, ANAVEX®2-73
      compares favorably in terms of absolute RSBQ improvements, with the caveat that
      cross trials comparisons have their limitations.

      The key secondary endpoint, the Anxiety, Depression, and Mood Scale (ADAMS),
      trended favorably. In the same analysis, scores for all RSBQ and ADAMS subscales
      improved over the course of the study. Collectively, the RSBQ and ADAMS
      demonstrated improvements in multiple areas, impacting positively in particular
      repetitive movements, nighttime disruptive behaviors and social avoidance.

      In the EXCELLENCE study, a large placebo effect was observed which may have
      masked the compound’s therapeutic effect. Anavex believes to have identified the
      probable causes.

      64.    Anavex’s EXCELLENCE study differed from the AVATAR study in several ways.

The MMRM method was not used in the AVATAR study nor was an LS Mean score reported in

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AVATAR. Meanwhile, the RSBQ AUC was not reported in EXCELLENCE though it had been

reported in AVATAR. Notably, unlike AVATAR, Anavex used RSBQ anchored with CGI-I in

EXCELLENCE, as required.

       65.     The EXCELLENCE study did not meet the necessary co-primary endpoints of

RSBQ and CGI-I. Anavex blamed the outcome on a “large placebo effect” but provided no data to

support its claim. Instead, Anavex touted the results of an “ad hoc” analysis that omitted data from

15 participants in the study without any stated reason.

       66.     Anavex used its “ad hoc” analysis to conceal the weakness of the EXCELLENCE

study data. Specifically, Anavex’s removal of 15 participants from the analysis qualifies as a

modified intent-to-treat analysis. Modified intent-to-treat analyses, or mITT, are used to minimize

the negative results of an ITT analysis. An mITT analysis essentially involves engaging in a post

hoc exclusion of certain patients from the entire population. By using an mITT analysis, a company

cherry picks the data that support its position while excluding those that inconveniently lead to a

conclusion that is inconsistent with the company’s stated hypothesis; namely that the drug is

effective for the indications being tested.

       67.     The NCBI conducted a study which presented empirical evidence that mITT trials

“were strongly associated with industry funding and authors’ conflict of interest.” See MONTEDORI,

A., ET AL., Modified versus standard intention-to-treat reporting: Are there differences in

methodological quality, sponsorship, and findings in randomized trials? A cross-sectional study

(Feb. 28, 2011). The study reviewed more than 350 random controlled trials (RCTs), of which 56

were mITT. The study referred to several articles which state that post-hoc exclusion of subjects

in randomized trials leads to biased estimates of the treatment effect. The study goes on to state

that in most cases of post hoc exclusion, it is due to the work of the pharmaceutical industry:



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        In the medical literature, there is plenty of evidence that the pharmaceutical industry
        is directly or indirectly involved at different stages in the conduct, design and
        publication of biomedical research. The selection of an inappropriate comparison
        group (e.g., a drug with non-equivalent dosage), multiple reporting of studies and
        suppression or delay of publications are all circumstances where the presence of
        industry sponsorship are well documented.

        68.     The study concluded that:

        Well-designed RCTs require strict adherence to the intention-to-treat principle, in
        which subjects should remain in the group to which they were originally allocated.
        Although further research is needed to document that the mITT is a potential source
        of bias, to limit unjustified exclusions, the misuse of “intention-to-treat”
        terminology should be abandoned, and authors need to adhere to the standard
        intention-to-treat principle.

        69.     Thus, the use of mITT is used in most cases where the results lead to inconvenient

truths by parties (such as Anavex) which depend on favorable results to maintain the drug’s appeal

in the eyes of its investors.

        70.     Analysts responded immediately and negatively to Anavex’s announcement of the

EXCELLENCE results. Adam Feuerstein of STAT News noted the seven-month delay in reporting

the results as well as the suspicious nature of the “ad hoc” analysis. He concluded that ANAVEX

2-73 was no longer a viable candidate for Rett Syndrome treatment.

        71.     Other analysts also regarded the results negatively. For example, H.C. Wainwright

lowered its price target for Anavex to $40 per share from $54 per share on the basis that the

EXCELLENCE data would “not enable Anavex to secure regulatory approval of [ANAVEX 2-73]

in Rett [S]yndrome near-term.” It also noted that, “[w]hile Anavex pointed to an unexpectedly high

placebo response in the trial as a potential contributor to missing statistical significance and

indicated that it has identified probable causes of this, no further details have been given.”




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        72.     Anavex shares tumbled in response to the EXCELLENCE results. From a closing

price of $9.31 per share on December 29, 2023, Anavex’s stock price fell to $6.045 on January 2,

2024 (i.e., the following trading day).

        73.     Following the sharp decline in Anavex’s stock price, Missling attended the J.P.

Morgan Annual Healthcare Conference on January 11, 2024. During the conference, Missling

attempted to respond to the criticism Anavex had received in connection with the EXCELLENCE

study results. Missling claimed that the study “was not fully powered. Was a Phase II/III. And it is

not that we were not happy about it, but we had observed a little bit too high of a placebo effect . .

. .” Missling’s statements about the powering of the study contradicted the fact that the

EXCELLENCE had been over-enrolled, which in turn would have increased the power of the study

(i.e., results are typically more reliable in larger sample sizes).

V.      FALSE AND MISLEADING STATEMENTS

                                          February 1, 2022

        74.     On February 1, 2022, Anavex hosted a special conference call to discuss the

AVATAR trial results. Defendant Missling participated in the call on behalf of Anavex.

        75.     During the call, an analyst from BTIG asked Missling to confirm which endpoints

Anavex would use for the EXCELLENCE trial in light of the last-minute changes to the AVATAR

trial’s endpoints. In pertinent part, Missling stated as follows:

        <Yun Zhong, BTIG, LLC, Research Division – Analyst>: So one question -- so
        follow-up question on the endpoint. And I assume that when you report top line
        data from the EXCELLENCE study, it will be RSBQ AUC as well? And do you
        have to go back to the U.S. Phase II study to reanalyze the data using AUC versus
        the -- as compared to the original RSBQ to make everything consistent?

        <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
        CEO & Secretary>: Good question. Thank you. So that's right, the EXCELLENCE
        study will use the same endpoint . . . . because it's just described, it is just the
        preference of the FDA.

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(Emphasis added.)

       76.     The statements identified above in emphasis were false and/or materially

misleading. Missling knew that RSBQ AUC would not be accepted by the FDA as a primary

endpoint measure for a pivotal clinical trial. The FDA had already made clear that any clinical trial

used to support an NDA for ANAVEX 2-73 needed to incorporate RSBQ and CGI-I as co-primary

endpoints. The FDA confirmed this requirement in connection with DAYBUE’s end-of-phase 2

meeting in October 2017 and communicated it to Anavex during its pre-IND meeting between

December 2017 and February 2018, and subsequently thereafter in communications about

ANAVEX 2-73 development program after receiving Fast Track designation in February 2020.

Indeed, Defendants intended to rely on the EXCELLENCE study as its pivotal study for ANAVEX

2-73’s NDA, which is why the study protocol for the EXCELLENCE trial on ClinicalTrials.gov

identified RSBQ and CGI-I as the study’s co-primary endpoints. Thus, Missling knew that the

EXCELLENCE trial would ultimately not rely on RSBQ AUC for its primary endpoint, i.e., the

EXCELLENCE trial would not “use the same endpoint” as the AVATAR trial.

       77.     In addition, the above statements falsely represented that RSBQ AUC was “the

preference of the FDA.” It was not. The FDA required the use of RSBQ and CGI-I as co-primary

endpoints for Rett Syndrome clinical trials. At best, RSBQ AUC measured a participant’s response

to a drug over various points in time. It did not measure the change in a participant’s RSBQ score

from baseline to end of treatment, which was what the FDA required. Furthermore, the FDA

required a clinician evaluation, i.e., CGI-I, in addition to a caretaker assessment, i.e., RSBQ. Thus,

there was a material difference between what Missling referred to as the FDA’s “preference” and,

in truth, the primary endpoints that the FDA required.




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       78.    At other points during the call, Missling also misrepresented the ability of the

AVATAR trial to support an NDA for ANAVEX 2-73. In pertinent part, Missling stated that:

       As an overview of the Rett syndrome program, we have now almost completed the
       entire program. We completed the U.S. Phase II study, and we just announced the
       completion of the Phase III AVATAR adult Rett syndrome study. And ongoing is
       still the EXCELLENCE study, which includes patients aged 5 to 17, which is a
       pediatric clinical study in Rett syndrome of the ANAVEX 2-73 Rett syndrome
       program.

       I also like to mention that we received the Fast Track designation, Orphan Drug
       Designation as well as orphan drug in rare pediatric disease designation. So with
       that, we now have 1 pivotal study Phase III in adult Rett syndrome; 1 Phase II
       study, which could be a supportive efficacy study in Rett syndrome; and we have
       extensive database and tolerability data of ANAVEX 2-73 from various other trials
       as well, which completes the safety package.

       ...

       So let me give you some background, however, about the endpoints, the primary
       endpoint, which is very important. It has been demonstrated that statistically
       significance, and that is required for a successful Phase III study, is not alone
       sufficient for proving a drug. It's also required that the outcome of the effect of the
       patient is clinically meaningful for the individual patient, and that can be
       measurable assessed.

       And for that reason, to pick the right endpoint is very important. As we know now,
       and we knew when we started the trial, the RSBQ is not the most suited stand-alone
       caregiver endpoint or outcome assessment for Rett syndrome. It had been shown
       and recently published that it could lead to either type 1 or type 2 error. The FDA
       hence recommended, and it's also provided in the guidelines from the FDA, and
       recommended specifically in these cases, because you don't have many choices
       endpoints to pick from which have been validated for rare diseases like Rett
       syndrome, to use instead the RSBQ with an anchor.

       That's called anchor-based responder method, which links the score from 1 clinical
       outcome assessment, the RSBQ in this case, with scores from a simple reference
       anchor, which is the outcome assessment with a clinically meaningful threshold,
       which is the CGI-I, and that facilitates the interpretation of what constitutes a
       meaningful within and between patient change in clinical outcome assessment. And
       so this RSBQ AUC was born.

       ...




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<Charles Cliff Duncan, Cantor Fitzgerald & Co., Research Division – Senior
Analyst>: Okay. And then relative to -- or regarding the endpoint, I guess I'm really
intrigued with the anchor-based endpoint analysis. And I like it in some ways, but
I also kind of wonder if -- I mean, didn't the trial start off with an RSBQ total? And
isn't that the endpoint in the ongoing EXCELLENCE trial? And I guess I'm
wondering if you also looked at the data with regard to a change in RSBQ relative
to baseline.

And then the other thing I wanted to ask, which I'm confused on, is it looks like the
CGI data is exactly the same as the primary endpoint data. And I'm wondering if
I'm just confused in seeing that.

<Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
CEO & Secretary>: Yes, good point. So let me also address the second part. So the
CGI-I response is indeed numerically similar or the same as the RSBQ AUC
response. But that's coincidental, it's not the same in its patient response. The RSBQ
total score is actually -- and we had included that in our analysis, and we basically
did not change the -- or the 0 didn't change on time in the clinicaltrial.gov. That's
why it looks like it was changed, but it was actually prespecified. In a Phase III,
you cannot really move around with the endpoint. So it was prespecified. As I
mentioned, we also included that in the RS-001, and we also showed it in our slides,
but we didn't highlight that analysis. But the discussion with FDA led to a
conviction that the RSBQ alone is not sufficient as a stand-alone to measure
because of its likely type 1 and type 2 error potential. So the anchor-based
correlated threshold-based RSBQ was then chosen, which is the RSBQ AUC.

...

<Charles Cliff Duncan, Cantor Fitzgerald & Co., Research Division – Senior
Analyst>: Okay. Last question. Sorry, for all of them, but I promise, it's the last.
Next steps regarding meeting with the agency, I assume you don't know the exact
timing, but could you give us kind of a goal on that?

And then would you be discussing a second Phase III to replicate these results? Or
would you rely on excellence and the body of data that you have thus far to
potentially support the filing of an NDA?

<Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
CEO & Secretary>: Yes. so I mean, it's not unheard of. We've seen it with the
approval of the vaccines for COVID that it was first tested in adults, and it was then
approved for adult, and then it was tested in young children, and then it was
approved in our children and now the age group was expanded further. So we don't
exclude the ability now with this data package to seek approval for Rett syndrome
for adult patients. On the other hand, we'd like to have the discussion with FDA
first because we also have the, as you know, EXCELLENCE study ongoing, which
includes patient 5 to 17. So regarding timing, I would like to say, at this point in

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       time, as soon as we can. So we'd like to move forward the discussion as soon as
       possible.

(Emphasis added.)

       79.     The statements identified above in emphasis were false and/or materially

misleading. Missling created the false impression that the AVATAR study, which used RSBQ AUC

as its primary endpoint, could serve as a “pivotal” study for ANAVEX 2-73’s NDA. In clinical

development, the term “pivotal” signifies that the trial can support an NDA because it is designed

to produced potentially acceptable evidence of a clinical benefit. RSBQ AUC had not been

approved by the FDA for use as a primary endpoint in a pivotal clinical trial for Rett Syndrome.

Instead, the FDA required RSBQ anchored with CGI-I. Further, although Missling claimed RSBQ

AUC was the equivalent of RSBQ anchored with CGI-I, RSBQ AUC incorporated treatment

responses over the course of the trial. By incorporating treatment responses of the course of the

trial, participant scores did not accurately reflect improvement over baseline at end of treatment

but instead essentially measured changes during the trial, which the FDA would not accept as a

primary endpoint measure for use in a pivotal Rett Syndrome clinical trial. Consequently, Missling

created the false impression that the FDA approved the RSBQ AUC endpoint for use in a pivotal

trial and could support an NDA for ANAVEX 2-73, which was not true.

                                         February 9, 2022

       80.     On February 9, 2022, Anavex hosted a conference call to discuss its quarterly

results for the first quarter of fiscal 2022. Defendant Missling participated in the call on behalf of

Anavex.

       81.     During the call, an analyst from Cantor Fitzgerald pressed Missling for clarity on

the endpoints Anavex intended to use in the EXCELLENCE trial. Instead of answering the




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question directly, Missling concealed the information being requested. In pertinent part, Missling

stated as follows:

       <Charles Cliff Duncan, Cantor Fitzgerald & Co., Research Division – Research
       Analyst>: . . . Let me turn to EXCELLENCE. I guess I'm wondering if you'll use
       the same evaluation as was used in AVATAR because I think clin trials
       [ClinicalTrials.gov] has it a little bit different, and you might correct that. And then
       the second thing about EXCELLENCE is that in terms of the patient enrollment to
       date, can you give us some color on the number of patients enrolled? And when
       during the second half of '22 you would anticipate that study to read out?

       ...

       <Christopher U. Missling Anavex Life Sciences Corp. – President, CEO, Secretary
       & Director>: . . . Yes. And in regards to the ClinicalTrials.gov, I would like to make,
       again, a statement here that the ClinicalTrials.gov is not what we want to refer as
       to company communication. It will be updated eventually. So I'd like to -- you to
       be aware of that. So the company communication is -- has priority over
       ClinicalTrials.gov, but it will be updated when we have finalized the study
       outcome. And then we will also update the ClinicalTrials.gov. Right now, it might
       not be completely up to date. So I want to make sure people understand that.

(Emphasis added.)

       82.     The statements identified above in emphasis were false and/or materially

misleading. Missling told investors just one week earlier during the February 1, 2022 special call

that EXCELLENCE would use the same RSBQ AUC endpoint that Anavex used in AVATAR.

However, Anavex’s study protocol on ClinicalTrials.gov showed RSBQ and CGI-I as the co-

primary endpoints for the EXCELLENCE study, which was what the FDA required. When asked

for clarification by the Cantor Fitzgerald analyst, Missling refused to answer the question because,

if he did, he would have been forced to admit that ClinicalTrials.gov did in fact display the correct

FDA-approved endpoints and, by extension, admit that RSBQ AUC had not been approved by the

FDA. Consequently, by evading the question posed directly to him Missling perpetuated the false

impression that RSBQ AUC was an approved endpoint and that the AVATAR trial results would

support an NDA for ANAVEX 2-73 as a Rett Syndrome treatment.

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       83.    Later in the call, a different analyst asked Missling another question about Anavex’s

use of RSBQ AUC and, in particular, its appropriateness in light of Acadia Pharmaceuticals’ use

of the RSBQ and CGI-I co-primary endpoints. Missling again misrepresented and concealed the

fact that RSBQ AUC was not approved by the FDA. In pertinent part, Missling stated as follows:

       <Soumit Roy, JonesTrading Institutional Services, LLC, Research Division –
       Director & Healthcare Analyst>: Congrats on this quarter and the data. One
       question, Chris, I wanted to understand or get your take on, how do you think FDA
       would look at 2 drugs being filed so close to each other with 2 different endpoints?
       Curious if you would make any comment if you think they would ask Acadia
       [Acadia Pharmaceuticals] to file it RSBQ AUC?

       <Christopher U. Missling, Anavex Life Sciences Corp. – President, CEO, Secretary
       & Director>: It's an excellent question. I would like to speak just on our data. We
       really think that, as I mentioned before, every drug needs to be looked at in its
       uniqueness, and you want to analyze it with the drug effect in mind. And that's what
       we've done.

       And on top of it came the paper on the RSBQ, which really has extremely high
       variability and baseline inconsistency. And again, I'm not speaking here out of line.
       It's really in this paper from 2020, which came around the time when we finished
       our first study in the U.S. study. And that's what we learned from that to adjust to
       this.

       And then the guidelines of the FDA guidance are really specific, what to do in
       those cases. If you have a baseline -- if you have an endpoint, which has not a
       totally reliability feature, then you can use what is called the anchoring and use
       the response analysis.

       But that requires -- it's very important, and we probably should highlight it stronger
       that this endpoint in question needs to be correlating with the CGI. And if it doesn't
       correlate, you cannot use this anchoring method. So -- and you are then left with a
       poor outcome.

       But since we tested the correlation, and it should correlate because the difference
       between the 2 measures are the RSBQ is assessed by the parents, and the CGI are
       assessed by the physician. And while they measure different things, they both
       should basically see a positive change independently of each other. And so that
       means they should eventually correlate to a certain extent. And they do in our
       studies, and they did in those studies, which is a good thing.

       And so once you have established a correlation, then the FDA guidelines really
       explicitly say, please use this anchor-based method because you just also take

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       care of what the FDA is always concerned about not clinically -- not statistical
       significance, but clinically meaningfulness. And by doing this, we basically raised
       the bar for us, for the drug. But we also did it to make it easier to appreciate the
       drug effect because now you can be assured that everybody who's a responder also
       has to have an improvement, which is clinically meaningful.

       So we made it for the FDA easier. That's why I think the guidance is very clear
       because they want to make sure that you just don't have an average statistical
       improvement of a certain percentage and/or score, but it doesn't mean anything
       to anybody. Nobody can confirm that it is beneficial. The physician cannot assess
       it or confirm it. The patient cannot confirm it, and the parents cannot confirm it, but
       it's statistically significant. So it doesn't help anybody.

       So by using this approach of the CGI anchored RSBQ, you'll see we were able to
       raise the bar, make it easy to interpret. So it's the analogy of what we just also
       mentioned on the 1st of February of the story of the way skin diseases are assessed
       in rash or other features that you have to raise -- reduce a certain amount, a
       minimum amount. For example, in rash, it's at 75% or even 90% before being
       considered even that the drug works. And this bar is what we have here included.
       And that allows for just more fair and proper assessment of the drug -- of the effect
       of the drug.

(Emphasis added.)

       84.    The statements identified above in emphasis were false and/or materially

misleading. The FDA’s guidance for Rett Syndrome clinical trials at this point was to use co-

primary endpoints of RSBQ and CGI-I. The analyst made reference to Acadia Pharmaceuticals

because it had just completed the LAVENDER trial for DAYBUE and reported data pursuant to

these endpoints, i.e., RSBQ and CGI-I. Despite Missling admitting to being aware of the guidance

and even describing it as “very clear,” Anavex did not adhere to it during the AVATAR trial. The

RSBQ AUC endpoint used by Anavex was, in fact, closer to the “average statistical improvement”

that Missling regarded as not “mean[ing] anything to anybody.” Thus, Missling misled investors

and analysts when claiming that the RSBQ AUC endpoint was the endpoint required by the FDA’s

guidance.




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                                          May 10, 2022

       85.     On May 10, 2022, Anavex hosted a conference call to discuss its second quarter

results for fiscal 2022. Defendant Missling participated on the call on behalf of Anavex.

       86.      During the call, an analyst asked Missling once again if Anavex was going to use

the same RSBQ AUC endpoint in its ongoing EXCELLENCE study. Missling initially avoided the

question but, when asked again directly in follow-up, he responded that RSBQ AUC was the

correct endpoint and would in fact be used in the EXCELLENCE study. In pertinent part, Missling

stated as follows:

       <Yun Zhong BTIG, LLC, Research Division – Analyst>: On the pediatric Rett
       syndrome study, and I see that the study has not completed patient enrollment. So
       I assume it's still ongoing. So I wanted to confirm if you're going to put out the
       press release on patient enrollment completion? And on the primary endpoint, is it
       reasonable to assume that it's still going to be the AUC? And have you talked to the
       FDA the -- I believe the last guidance or last -- yes, business guidance after the
       second readout from the Rett syndrome was that you were going to talk to the FDA,
       so has that happened yet, please?

       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Thank you for the call. Indeed, so the last communication is
       that we are planning to meet the FDA to discuss the Rett program and its procedure
       to move forward with filing an NDA for approval. And since we finished and
       completed the AVATAR study in adults, a small study despite the fact that it's a
       successful study, a Phase II study, which was also small and the ongoing
       EXCELLENCE study, which is in pediatric study, which is the largest study.

       So we are waiting for this meeting to take place. It has not yet taken place, but it
       will take place soon and then we will learn how to move forward. And indeed, direct
       EXCELLENCE study with pediatric patients is still ongoing enrolling, and we
       might have a press release when the enrollment is completed.

       <Yun Zhong BTIG, LLC, Research Division – Analyst>: So well, with regard to
       the primary endpoint, is it still going to be RSBQ AUC instead of RSBQ?

       <Christopher U. Missling Anavex Life Sciences Corp. – Chairman, President, CEO
       & Secretary>: That's right. So when we have presented AVATAR study, we learned
       from the first Phase II study that the RSBQ AUC that includes the CGI-I linked
       respond analysis. So the RSBQ AUC includes the CGI-I respond analysis -- linked



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       respond analysis, that is the endpoint which we will also propose for the
       EXCELLENCE study. That is correct. It's consistent with the AVATAR study.

(Emphasis added.)

       87.     The statements identified above in emphasis were false and/or materially

misleading. As previously alleged, RSBQ AUC was not equivalent to the FDA-approved primary

endpoints of RSBQ and CGI-I. Missling was aware of the FDA’s guidance on this point, as

evidenced by both his admitted familiarity with the “very clear” regulations, the protocol for the

EXCELLENCE study on ClinicalTrials.gov, and Acadia Pharmaceuticals’ LAVENDER study

results. Notwithstanding, Missling falsely claimed that RSBQ AUC adhered to the regulations and

would be used in the EXCELLENCE study, thereby giving analysts and investors the materially

misleading impression that the FDA had approved Anavex’s use of the RSBQ AUC measure as an

endpoint for the EXCELLENCE trial.

                                       November 28, 2022

       88.     On November 28, 2022, Anavex hosted a conference call to discuss its fourth

quarter results for fiscal 2022. Defendant Missling participated on the call on behalf of Anavex.

       89.     During the call, an analyst once again asked Missling if the EXCELLENCE trial

would rely on the RSBQ AUC endpoint that Anavex had previously used in the AVATAR trial.

Missling again refused to disavow the RSBQ AUC endpoint and/or otherwise admit that the FDA

required the co-primary endpoints of RSBQ and CGI-I. In pertinent part, Missling stated as

follows:

       <Charles Cliff Duncan, Cantor Fitzgerald & Co., Research Division – Senior
       Analyst>: Okay. And then moving on to the EXCELLENCE study. In terms of the
       endpoint, can you help us understand what is the endpoint that you're most focused
       on? Is it RSBQ AUC in Rett? Or is it the Clinical Global Impression of
       Improvement?




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       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: It's really both. So the RSBQ is the assessment of the parents
       and the CGI-I is the assessment by the physician. So both are relevant and they
       should actually match or correlate with each other. And so we believe both
       endpoints are critical.

(Emphasis added.)

       90.     The statements identified above in emphasis were false and/or materially

misleading. Despite knowing that RSBQ AUC had not been approved by the FDA and would not

be accepted in support of a pivotal Rett Syndrome clinical trial, Missling continued to falsely

represent that it would be used in the EXCELLENCE trial. This gave investors and analysts the

materially misleading impression that the FDA had authorized Anavex to use the RSBQ AUC

measure as a primary endpoint, which was not the case. In fact, as of August 2022, Anavex had

submitted the “existing design” of the EXCELLENCE study to the FDA “in order to make sure

that the agency [was] comfortable with [Anavex’s] design,” according to Missling. That design, as

reflected on ClinicalTrials.gov, showed the use of the FDA-approved co-primary endpoints of

RSBQ and CGI-I and not RSBQ AUC.

                                         January 12, 2023

       91.     On January 12, 2023, Anavex participated in the 41st Annual J.P. Morgan

Healthcare Conference. Defendant Missling presented on behalf of Anavex.

       92.     During the presentation, Missling continued to obscure the truth about Anavex’s

reliance on RSBQ AUC and mislead investors into believing that its endpoint in the AVATAR trial

was, in fact, the ones that had been used by Acadia Pharmaceuticals and approved by the FDA. In

pertinent part, Missling stated as follows:

       <Unknown Analyst>: Okay. Next question. On Rett syndrome so Acadia has
       noticed diarrhea in your clinical study. Has Anavex seen any similar adverse effect
       in clinical studies?



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       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Yes, that's a very good question. So diarrhea was not noticed
       in our clinical studies. And what's important maybe to be aware of in Rett
       syndrome, these girls usually have constipation. So the opposite of diarrhea. So it's
       really also important to have adverse event profile, which is less invasive and
       disturbing overall in these patients. So no, we have not noticed this diarrhea adverse
       events in our clinical studies.

       <Unknown Analyst>: Got it. Okay. We have a couple of others? Questions?
       Another one on Rett syndrome. What are the limitations of the RSBQ as an
       endpoint?

       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: So in Rett syndrome, there are not many clinical outcomes
       developed because it's a rare disease and there have not been many clinical trials so
       far. The RSBQ is a patient administered endpoint or outcome. That's why it's also
       important to be aware of that who makes the assessment, if it's the parent.

       And what was reported in a publication recently was that the RSBQ seems to have
       a very high variability in repeat measures between time points without any
       intervention. So that makes it a little bit of like an imprecise baseline measure and
       outcome measure.

       And we -- for that reason, we used in our analysis of our trial, an anchor-based
       methodology by using the CGI-I, a measure of more concrete assessment by an
       independent group of assessors, which are the physicians. So that allows for a
       more objective assessment, and we anchored the CGI-I to the RSBQ outcome,
       and that allows for reducing variability of this RSBQ. But again, you cannot
       replace the RSBQ because there are not many alternatives which are in Rett
       syndrome as validated endpoints. But that's a very good way of also raising the bar
       of using respond analysis, using a threshold of net improvement and not just having
       an outcome number of change from baseline, which is more a rigorous approach in
       respond analysis with a threshold of net improvement with -- which the CGI-I
       anchored RSBQ is. So we basically are able to address the perfection of the RSBQ
       as a stand-alone by this methodology.

(Emphasis added.)

       93.     The statements identified above in emphasis were false and/or materially

misleading. As previously alleged, RSBQ AUC was not equivalent to the FDA-approved primary

endpoints of RSBQ and CGI-I. Missling was aware of the FDA’s guidance on this point, as

evidenced by both his admitted familiarity with the “very clear” regulations, the protocol for the



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EXCELLENCE study on ClinicalTrials.gov, and Acadia Pharmaceuticals’ LAVENDER study

results. Notwithstanding, Missling falsely claimed that Anavex’s use of RSBQ AUC in the

AVATAR trial adhered to the regulations and was equivalent to the RSBQ and CGI-I co-primary

endpoints approved by the FDA.

                                        February 2, 2023

       94.     On February 2, 2023, Anavex issued a press release titled “Anavex Life Sciences

Announces Exceeding of Enrollment Target for ANAVEX®2-73 (blarcamesine).” The press

release contained an obscure reference to Anavex’s communications with the FDA and its receipt

of input relating to the endpoints for the EXCELLENCE study. In pertinent part, the press release

stated as follows:

       Anavex Life Sciences Corp. (“Anavex” or the “Company”) (Nasdaq: AVXL), a
       clinical-stage biopharmaceutical company developing differentiated therapeutics
       for the treatment of neurodegenerative and neurodevelopmental disorders including
       Alzheimer’s disease, Parkinson’s disease, Rett syndrome and other central nervous
       system (CNS) diseases, today announced the total enrollment of 92 patients with
       Rett syndrome for the ANAVEX®2-73 (blarcamesine) EXCELLENCE Phase 2/3
       study in Rett syndrome patients ages ≥ 5 years to 17 (inclusive). This exceeds the
       original enrollment target and the Company expects to announce topline results
       from this study in 2H 2023.

       ANAVEX®2-73 is an orally available, small-molecule activator of the sigma-1
       receptor (SIGMAR1) which, data suggest, is pivotal to restoring neural cell
       homeostasis and promoting neuroplasticity.

       The enrollment completion of the randomized, placebo-controlled EXCELLENCE
       Phase 2/3 study ANAVEX®2-73-RS-003 for the treatment of pediatric patients
       with Rett syndrome was preceded by the successful completion of both placebo-
       controlled Phase 2 U.S. (ANAVEX®2-73-RS-001), and Phase 3 AVATAR
       (ANAVEX®2-73-RS-002) studies in adult patients with Rett syndrome.

       The multi-center, double-blind clinical EXCELLENCE study (ANAVEX®2-73-
       RS-003) in pediatric patients is measuring safety, tolerability, and efficacy of daily
       oral ANAVEX®2-73 doses or placebo. After completing the double-blind study,
       eligible participants are able to join a voluntary open-label extension study of
       ANAVEX®2-73. In communication with the FDA, we received their input on the
       endpoints, which were utilized in this study.

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       ANAVEX®2-73 (blarcamesine) had previously received Fast Track designation,
       Rare Pediatric Disease designation and Orphan Drug designation from the FDA for
       the treatment of Rett syndrome.

(Emphasis added.)

       95.     The statements identified above in emphasis were materially misleading. Prior to

this point, Missling had repeatedly told analysts and investors that RSBQ AUC was the endpoint

being used in the EXCELLENCE trial and created the false impression that the FDA had approved

it. This was not true though. In reality, the FDA had approved only the use of RSBQ and CGI-I as

co-primary endpoints in Rett Syndrome trials. Thus, when Anavex referenced “communication

with the FDA” in the above press release, that communication consisted of the FDA telling Anavex

that it could not use RSBQ AUC but instead needed to use RSBQ and CGI-I as co-primary

endpoints if it wanted the EXCELLENCE trial to serve as a pivotal trial for ANAVEX 2-73’s NDA.

Instead of disclosing this to investors, the above press release perpetuated the false impression that

Anavex’s use of RSBQ AUC in both the AVATAR and EXCELLENCE trials were in line with

FDA guidance, which was not the case.

                                         February 7, 2023

       96.     On February 7, 2023, Anavex hosted a conference call to discuss its first quarter

results for fiscal 2023. Defendant Missling participated on the call on behalf of Anavex.

       97.     During the call, an analyst questioned Missling about the endpoints in the

EXCELLENCE trial and, in particular, his communications with the FDA referenced in the press

release dated February 2, 2023. In pertinent part, Missling stated as follows:

       <Yun Zhong, BTIG, LLC, Research Division – Analyst>: Okay. And then switching
       to the Rett syndrome study. I believe though your press release announcing over
       enrollment had the language that with the FDA's input, you are using the primary
       end point. So I wanted to confirm that the primary end point is RSBQ AUC similar
       to -- or the same to the one used in the AVATAR study? And -- so has the FDA

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       agreed that AUC, the modified RSBQ scale, can be an appropriate end point for
       Rett syndrome study?

       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Yes. We have it described in clinicaltrial.gov, and it was also
       never changed in clinicaltrial.gov for the EXCELLENCE study. It is the RSBQ
       as primary end point, and the CGI-I is key secondary end point over the course
       of the trial.

       <Yun Zhong BTIG, LLC, Research Division – Analyst>: Is that the same end point
       that was used in the AVATAR study?

       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Slightly different. So it's actually the measurement over time
       from beginning to end of trial.

       <Yun Zhong, BTIG, LLC, Research Division – Analyst>: Not AUC?

       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Not AUC.

       <Yun Zhong, BTIG, LLC, Research Division – Analyst>: Not AUC?

       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Exactly, yes.

       <Yun Zhong, BTIG, LLC, Research Division – Analyst>: Okay.

       <Christopher U. Missling, Anavex Life Sciences Corp. – Chairman, President,
       CEO & Secretary>: Because the study is large enough that it can carry the signal
       by itself without AUC.

(Emphasis added.)

       98.    The statements identified above in emphasis were materially misleading. Despite

the material differences between RSBQ AUC on the one hand and RSBQ anchored with CGI-I on

the other hand, Missling represented that they were equivalent and implied falsely that they had

both been approved by the FDA. Indeed, the BTIG analyst asked point-blank whether RSBQ AUC

had been approved by the FDA as an “appropriate end point” for the EXCELLENCE study and,

in response, Missling said “yes”. Missling then referred the analyst to the EXCELLENCE study’s



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posting on ClinicalTrials.gov, which listed the correct co-primary endpoints of RSBQ with CGI-I,

thereby implying falsely that the measures were equivalent to one another and, by extension, the

RSBQ AUC measure used in the AVATAR trial would still acceptable and meritorious in support

of a regulatory approval package for ANAVEX 2-73, i.e., an NDA.

       99.     Notwithstanding Missling’s initial response, the analyst continued to press for a

direct answer on whether EXCELLENCE would use RSBQ AUC as its primary endpoint. Missling

eventually conceded it would not while at the same time maintaining the false impression that

RSBQ AUC would still be an acceptable measure for the AVATAR trial. In truth, RSBQ AUC was

not an acceptable endpoint for a pivotal Rett Syndrome clinical trial. Furthermore, although

Missling claimed that RSBQ AUC would not be used in the EXCELLENCE trial because “the

study [was] large enough that it can carry the signal by itself without AUC,” in truth it was the

FDA’s requirements that forced Anavex to reveal it would not be using the RSBQ AUC

measurement and not the size of the trial. In fact, as Defendants would ultimately disclose, the size

of the trial was too small causing it to be underpowered.

                                          August 8, 2023

       100.    On August 8, 2023, Anavex hosted a conference call to discuss its third quarter

results for fiscal 2023. Defendant Missling participated on the call on behalf of Anavex.

       101.    During the call, Missling discussed the clinical data he and Anavex had received

from its various ANAVEX 2-73 trials, which included the U.S.-based Phase 2 trial as well as

AVATAR. He also discussed the data from the EXCELLENCE study that had completed over two

months earlier on June 6, 2023. Despite having the totality of the data in hand at this point and

knowing that it was insufficient in light of the FDA’s decision to grant approval to DAYBUE in

March 2023, Missling misrepresented the strength of the data by once again providing a



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description of the results using measurements that were not approved by the FDA. In pertinent

part, Missling stated as follows:

       <Christopher U. Missling, Anavex Life Sciences Corp. – President, CEO, Secretary
       & Director>: Thank you, Clint, and good morning, everyone. Thank you for being
       with us today to review our most recently reported financial results and to provide
       our quarterly business update.

       We are very excited to be entering an important phase of the company with several
       key data readouts within the remainder of 2023 for blarcamesine.

       First on Rett syndrome. In June, we announced the completion of the placebo-
       controlled EXCELLENCE Phase II/III clinical trial, RS-003, in pediatric patients
       with Rett syndrome and we're looking forward to the top line data of this potentially
       pivotal clinical trial in the second half of 2023.

       On June 12, we announced the publication of a new peer-reviewed study in the
       American Journal on Intellectual and Developmental Disabilities with relevance to
       this clinical trial entitled, Rett Syndrome Behavior Questionnaire in Children and
       Adults with Rett Syndrome: Psychometric Characterization and Revised Factor
       Structure.

       In the EXCELLENCE clinical trial, they have characterized Rett Syndrome
       Behavior Questionnaire, RSBQ, together with the Clinical Global Impression
       Improvement Scale, CGI-I, represents the co-primary efficacy endpoints of the
       trial. This psychometric study is timely and significant as it provides additional
       support for the use of the RSBQ in children and adults as well as reference values
       and revised subscales for its improved use.

       We have also been further encouraged for the results of this upcoming data readout
       based on recent long-term clinical trial results from the U.S. ANAVEX-2-73-RS-
       001 clinical trial, which we announced end of June. The long-term data
       demonstrated disease-modifying effect of blarcamesine for adult patients with Rett
       syndrome.

       Results from pharmacometric modeling of the full clinical data from baseline of
       the double-blind study to the end of the open-label extension study indicated that
       the data are best characterized with a combined symptomatic and disease-
       modifying drug effect model, meaning that blarcamesine exhibited both
       symptomatic and disease-modifying effects in the treatment of Rett syndrome in
       a clinical setting.

       Continued improvement from the drug as measured with the RBSQ total score
       was observed from the start of the double-blind study to the end of the open-label
       extension for patients continuing on blarcamesine.

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       Additionally, disease progression, which is defined as the change in Rett syndrome
       disease severity with time was also reduced with long-term treatment with
       blarcamesine.

(Emphasis added.)

       102.    The statements identified above in emphasis were materially misleading. By the

time of the third quarter earnings conference call: the FDA had already granted approval to Acadia

Pharmaceuticals’ DAYBUE based on its pivotal LAVENDER trial; Missling had openly

acknowledged that the correct co-primary endpoints for EXCELLENCE were RSBQ and CGI-I,

and not RSBQ AUC; and the EXCELLENCE trial had been completed for over two months with

the data unblinded and in-hand. Thus, Missling knew that Anavex’s collective trial data from the

U.S.-based Phase 2 trial, the AVATAR trial, and the EXCELLENCE trial was insufficient to

support a regulatory approval package. Indeed, the AVATAR trial incorrectly used RSBQ AUC as

its primary endpoint and the EXCELLENCE trial had failed to meet the correct co-primary

endpoint measures, i.e., RSBQ and CGI-I. Instead of admitting this reality, Missling resorted to

portraying ANAVEX 2-73’s trial data through the lens of a “responder” analysis, i.e., RSBQ AUC.

By characterizing the data using a “combined symptomatic and disease-modifying drug effect

model” and measuring responses “from the start . . . to the end,” Missling was able to falsely cast

the clinical trial results for ANAVEX 2-73 in a materially positive light.

       103.    By concealing the weakness of ANAVEX 2-73’s clinical data, Missling was able to

maintain a false sense of hope and expectation around Anavex’s Rett Syndrome commercial

opportunities. Indeed, following the third quarter conference call on August 8, 2023, analysts

reported positively on the EXCELLENCE study and maintained their ratings and price targets on

the stock. For example, Jones Research wrote that Anavex’s Rett Syndrome program “remains an

upside to the current implied valuation” based on its “expect[ation] to get registration enabling

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topline data from the [EXCELLENCE] trial.” Likewise, H.C. Wainwright wrote that it

“continue[d] to expect that Anavex could submit [ANAVEX 2-73] to the FDA in Rett [S]yndrome

before the end of 2023, assuming favorable data from the EXCELLENCE trial, with possible

approval and U.S. market entry in mid- to late 2024 assuming Priority Review.”

VI.    ADDITIONAL SCIENTER ALLEGATIONS

       104.    Defendants acted with scienter at all relevant times. Missling’s scienter is imputed

to Anavex under the doctrine of respondeat superior and/or common law principles of agency

because at all relevant times Missling was acting within his scope of employment as Anavex’s

CEO, President, and Secretary.

       105.    In addition to the facts previously alleged, Missling’s scienter is evidenced by his

familiarity with Anavex’s clinical trial operations and, in particular, ANAVEX 2-73’s clinical trials

for Rett Syndrome. Missling’s familiarity with these trials is demonstrated by his frequent

discussion of the U.S.-based Phase 2 trial, AVATAR, and EXCELLENCE trials throughout the

Class Period. Further, despite Anavex having had a Chief Scientific Officer (Dr. Walter E.

Kaufmann) and a Chief Medical Officer (Dr. Edward Hammond) throughout the Class Period,

Missling discussed the trials and the trial data on behalf of Anavex during its investor presentations

and earnings conference calls. This was true even when, for example, Missling was accompanied

by Dr. Hammond on the February 1, 2022 special conference call to discuss the AVATAR trial

results. Missling’s nearly exclusive role in discussing ANAVEX 2-73’s clinical data demonstrates

that he was intimately familiar with the trials, perhaps more than anyone else at Anavex.

       106.    Missling’s familiarity with the trials and trial data is also evidenced by the fact that

Anavex had <40 employees throughout the relevant period. According to analysts, ANAVEX 2-73

for Rett Syndrome represented the most likely and nearest opportunity for commercialization and



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revenue. Consequently, the importance of the trials combined with Anavex’s relatively small size

all but guarantees that Missling was involved with the trials on a day-to-day basis and oversaw

their progress directly.

         107.   Scienter is further evidenced by Missling’s consistent attempts to evade analyst

questioning about ANAVEX 2-73’s clinical trial program and data. Given the knowledge he

possessed about the trials, his attempted refusals to answer certain questions illustrates an intention

on his part to conceal certain material adverse information. For example, on February 9, 2022,

Missling avoided answering analyst questions directly on the topic of which endpoints Anavex

intended to use in the EXCELLENCE trial. Similarly, on May 10, 2022, he again tried to sidestep

an analyst question directly seeking confirmation concerning the endpoints for the EXCELLENCE

trial.

         108.   Missling’s desire to conceal material adverse information relates in part to the fact

that Anavex had no revenue generating commercial products. Consequently, its primary source of

capital was the share purchase agreements it had with Lincoln Capital whereby Anavex was

allowed to sell shares to Lincoln Capital at market price; Lincoln Capital was then allowed to turn

around and resell them to retail investors in the open market. If materially adverse information

entered the public sphere, Anavex’s stock price would decrease. See Loss Causation, infra

(discussing disclosures on February 7, 2023 and January 2, 2024). Pursuant to these share purchase

agreements, Anavex sold $24.1 million of stock to Lincoln Capital in fiscal 2021 and another $27.9

million in fiscal 2023. Anavex’s ability to raise this money would have been jeopardized had

Missling not prevented adverse information from reaching public investors. This, in turn, would

have jeopardized Missling’s lucrative compensation packages.




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       109.    Throughout the Class Period, Defendants exhibited a pattern of delaying the

announcement of bad news. Specifically, Anavex completed the AVATAR trial on September 30,

2021 yet did not report results until February 1, 2022, i.e., 124 days later. Similarly, Anavex

completed the EXCELLENCE trial on June 30, 2023 but delayed reporting results until January

2, 2024, i.e., 186 days later. Pursuant to industry standards and customary practices, topline data

from clinical trials is typically reported within six to eight weeks of study completion.

       110.    The following chart illustrates the significance of Anavex’s delayed reporting

tactics. It compares the amount of time between study completion and reporting across Acadia

Pharmaceuticals’ LAVENDER trial and Anavex’s U.S.-based Phase 2 trial, AVATAR trial, and

EXCELLENCE trial. Notably, the LAVENDER trial was significantly larger in terms of patient

populations yet presented no difficulties with respect to reporting in line with industry practices:




       111.    Missling delayed reporting adverse clinical trial data from the AVATAR and

EXCELLENCE trials and then, when he finally reported the data, provided it with a “spin” that

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falsely portrayed it in a positive light. Examples of the “spin” include Missling’s use of RSBQ

AUC for the AVATAR trial as well as the mITT “ad hoc” analysis from the EXCELLENCE trial

results, both of which signaled manipulation and/or misreporting of the data. Missling’s conduct

in this regard evidences an intent to conceal material adverse information from investors and

further demonstrates his motive to commit fraud.

       112.    Simultaneously, Missling knew the EXCELLENCE study announcement would

have a dramatic impact on the price of Anavex’s stock. In an attempt to counterbalance the looming

announcement, Missling caused Anavex to issue a series of bullish press releases between

November and December 2023. Press releases are highly planned events by companies because

they tend to have a tremendous effect on their stock price. The timing of their release dates matters

and great forethought is often given to when and what time a release is issued.

       113.    Following the completion of the EXCELLENCE study, Missling knew that the data

would be insufficient to support a regulatory approval package. Consequently, he began issuing

press releases with positive headlines and attractive graphics. For example, on November 20, 2023,

Missling caused Anavex to issue a press release titled, Anavex Initiates Regulatory Submission of

Oral Blarcamesine for Alzheimer’s Disease to the European Medicines Agency (EMA); on

December 19, 2023, he caused Anavex to issue a press release titled, Anavex Received Agreement

from the Committee for Medicinal Products for Human Use (CHMP) for the Submission of a

Marketing Authorisation Application of Oral Blarcamesine for Alzheimer’s Disease; and on

December 20, 2023, he caused Anavex to issue a press release titled, Anavex Announces First

Entire Clinical Gene Pathway Data of ANAVEX®2-73 from AVATAR Study in Patients with Rett

Syndrome, which supposedly featured a “heatmap” of patient data to support claims of a “genome”

discovery. Despite these press releases having little-to-no substantive value, they created their



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intended effect and inflated Anavex’s stock price by nearly 100% in the short two-month window

just prior to the negative EXCELLENCE study announcement.

VII.     LOSS CAUSATION

         114.   During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the price of Anavex stock

and/or maintained a pre-existing level of artificial inflation in the price of Anavex stock, and

operated as a fraud or deceit on Class Period purchasers of Anavex stock by failing to disclose and

misrepresenting the adverse facts detailed herein. When Defendants’ prior misrepresentations and

fraudulent conduct were disclosed, became apparent, and/or materialized through adverse

developments, the price of Anavex stock fell precipitously. As a result of their purchases of Anavex

stock during the Class Period, Plaintiff and the other investors suffered economic loss, i.e.,

damages, under the federal securities laws when the truth about Anavex was revealed through the

disclosures specified herein, which removed the false inflation from the price of Anavex common

stock.

         115.   The clinical data for ANAVEX 2-73 was materially weaker than represented,

thereby creating an elevated level of risk around obtaining regulatory approval and/or

commercializing the drug as a Rett Syndrome treatment. Defendants initially misrepresented and

concealed the weakness of the data (and, in turn, the risks relating to approval and

commercialization) by presenting the AVATAR trial data under an RSBQ AUC endpoint analysis.

On February 7, 2023, Defendants revealed to investors and analysts that they would not be using

the RSBQ AUC endpoint in the EXCELLENCE trial pursuant to FDA guidance, thereby indicating

that the AVATAR trial results were potentially not as positive or supportive as initially represented.

This created additional uncertainty around Anavex’s pathway to regulatory approval and,



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consequently, sent Anavex’s share price tumbling. On February 7, 2023, Anavex’s stock price

closed at $11.75 per share; from there it fell to $10.93 per share on February 8, 2023 and $10.41

per share on February 9, 2023 following analyst reports on the disclosure.

       116.    Thereafter, Defendants continued to misrepresent the strength of ANAVEX 2-73’s

clinical data by discussing it in the context of an RSBQ AUC analysis, which allowed Defendants

to characterize the drug as having a positive “responder” effect. This created the false impression

that Anavex’s regulatory approval package was potentially sufficient to win approval and begin

commercialization in the near-term. The truth about ANAVEX 2-73’s clinical data, however, came

to light when Defendants reported topline data from the EXCELLENCE trial. On January 2, 2024,

six months after the trial was completed, Defendants finally revealed that the EXCELLENCE trial

did not meet its co-primary endpoints of RSBQ and CGI-I. Analysts immediately reacted to the

news and lowered their valuations to account for needing additional clinical trials and more time

before Anavex could potentially gain FDA approval and begin generating revenue from ANAVEX

2-73 as a Rett Syndrome treatment. Anavex’s stock price once again fell precipitously. From a

closing price of $9.31 per share on December 31, 2023, Anavex’s stock price declined to $6.045

per share on January 2, 2024, i.e., the following trading day.

       117.    By failing to disclose to investors the adverse facts detailed herein, Defendants

presented a misleading picture of Anavex’s clinical trial operations and prospects for future

commercialization. Anavex’s false and misleading statements had the intended effect and caused

Anavex stock to trade at artificially inflated levels throughout the Class Period. As a direct result

of the disclosures identified herein, the price of Anavex stock fell precipitously, causing real

economic loss to investors who had purchased Anavex stock at artificially inflated prices during

the class period.



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       118.    The declines on February 8 and 9, 2023 and January 2, 2024 were a direct result of

the nature and extent of Defendants’ fraud being revealed to investors and the market. The timing

and magnitude of the price declines in Anavex stock negate any inference that the losses suffered

by Plaintiff and other Class members were caused by changed market conditions, macroeconomic

or industry factors, or Company-specific facts unrelated to Defendants’ fraudulent conduct. The

economic loss, i.e., damages, suffered by Plaintiff and the other Class members was a direct result

of Defendants’ fraudulent scheme to artificially inflate the price of Anavex stock and the

subsequent significant decline in the value of Anavex stock when Defendants’ prior

misrepresentations and other fraudulent conduct were revealed.

VIII. PRESUMPTION OF RELIANCE

       119.    At all relevant times, the market for Anavex stock was an efficient market for the

following reasons, among others:

               (a)    Anavex stock met the requirements for listing and was listed and actively

                      traded on the NASDAQ, a highly efficient and automated market;

               (b)    as a regulated issuer, Anavex filed periodic public reports with the SEC;

               (c)    Anavex regularly communicated with public investors via established

                      market communication mechanisms, including regular disseminations of

                      press releases on the national circuits of major newswire services and other

                      wide-ranging public disclosures, such as communications with the financial

                      press and other similar reporting services; and

               (d)    Anavex was followed by securities analysts employed by major brokerage

                      firms who wrote reports which were distributed to the sales force and certain




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                         customers of their respective brokerage firms. Each of these reports was

                         publicly available and entered the public marketplace.

       120.    As a result of the foregoing, the market for Anavex stock promptly digested current

information regarding Anavex from all publicly available sources and reflected such information

in the price of the stock. Under these circumstances, all purchasers of Anavex stock during the

Class Period suffered similar injury through their purchase of Anavex stock at artificially inflated

prices and a presumption of reliance applies under the fraud-on-the-market doctrine.

       121.    Alternatively, a Class-wide presumption of reliance is also appropriate in this action

under the United States Supreme Court’s holding in Affiliated Ute Citizens v. United States, 406

U.S. 128 (1972), because the Class’s claims include allegations concerning omissions. Because

this action at least in part involves Defendants’ failure to disclose material adverse information

regarding the Company’s clinical trial operations, positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of Defendants’ material Class Period omissions regarding, among other things, the

Company’s clinical trial operations, that requirement is satisfied here.

IX.    NO SAFE HARBOR

       122.    The “Safe Harbor” warnings accompanying Anavex’s reportedly forward-looking

statements (“FLS”) issued during the Class Period were ineffective to shield those statements from

liability. To the extent that projected revenues and earnings were included in the Company’s

financial reports prepared in accordance with Generally Accepted Accounting Principles,

including those filed with the SEC on Form 8-K, they are excluded from the protection of the

statutory Safe Harbor.



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       123.    Defendants are also liable for any false and misleading FLS pleaded because, at the

time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

authorized and/or approved by an executive officer of Anavex who knew that the FLS was false.

In addition, the FLS were contradicted by existing, undisclosed material facts that were required

to be disclosed so that the FLS would not be misleading. Finally, most of the purported Safe Harbor

warnings were themselves misleading because they warned of “risks” that had already materialized

or failed to provide meaningful disclosures of the relevant risks.

X.     CLASS ACTION ALLEGATIONS

       124.    Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons who purchased Anavex stock on the NASDAQ during

the Class Period (the “Class”). Excluded from the Class are Defendants and their families; the

officers and directors of the Company, at all relevant times; members of their immediate families

and their legal representatives, heirs, successors, or assigns; and any entity in which Defendants

have or had a controlling interest.

       125.    The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. Anavex shares trade on the NASDAQ and has more than 82 million

shares outstanding, owned by hundreds, if not thousands, of persons.

       126.    There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to members of the Class which

predominate over questions that may affect individual Class members include:

               (a)     whether Defendants violated the 1934 Act;

               (b)     whether Defendants omitted and/or misrepresented material facts;



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               (c)     whether Defendants’ statements omitted material facts necessary to make

                       the statements made, in light of the circumstances under which they were

                       made, not misleading;

               (d)     whether Defendants knew or recklessly disregarded that their statements

                       were false and misleading;

               (e)     whether the price of Anavex stock was artificially inflated; and

               (f)     the extent of damages sustained by Class members and the appropriate

                       measure of damages.

       127.    Plaintiff’s claims are typical of those of the Class because Plaintiff and the other

Class members sustained damages from Defendants’ wrongful conduct.

       128.    Plaintiff will adequately protect the interests of the Class and has retained counsel

who are experienced in class action securities litigation. Plaintiff has no interests which conflict

with those of the Class.

       129.    A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                                            COUNT I

                     Defendants Violated Section 10(b) and SEC Rule 10b-5

       130.    Plaintiff incorporates by reference and realleges each and every allegation above as

though fully set forth herein.

       131.    During the Class Period, Defendants disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they

contained misrepresentations and failed to disclose material facts necessary in order to make the

statements made, in light of the circumstances under which they were made, not misleading.



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       132.    Defendants violated Section 10(b) of the 1934 Act and Rule 10b-5 in that they:

               (a)     employed devices, schemes, and artifices to defraud;

               (b)     made untrue statements of material facts or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

               (c)     engaged in acts, practices, and a course of business that operated as a fraud

                       or deceit upon Plaintiff and other Class members in connection with their

                       purchases of Anavex stock during the Class Period.

       133.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other Class members have suffered damages in connection with their respective purchases and

sales of Anavex stock during the Class Period, because, in reliance on the integrity of the market,

they paid artificially inflated prices for Anavex stock and experienced loses when the artificial

inflation was released from Anavex stock as a result of the revelations and stock price decline

detailed herein. Plaintiff and the other Class members would not have purchased Anavex stock at

the prices they paid, or at all, if they had been aware that the market prices had been artificially

and falsely inflated by Defendants’ misleading statements.

       134.    By virtue of the foregoing, Anavex and the Individual Defendant have each violated

Section 10(b) of the 1934 Act, and Rule 10b-5 promulgated thereunder.

                                            COUNT II

                         Missling Violated Section 20(a) of the 1934 Act

       135.    Plaintiff incorporates by reference and realleges each and every allegation above as

though fully set forth herein.




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       136.    The Individual Defendant acted as controlling persons of Anavex within the

meaning of Section 20(a) of the 1934 Act. By reason of his controlling positions with the Company,

and their ownership of Anavex common stock, the Individual Defendant had the power and

authority to cause Anavex to engage in the wrongful conduct complained of herein. Anavex

controlled the Individual Defendant and all of its employees. By reason of such conduct, the

Individual Defendant is liable pursuant to Section 20(a) of the 1934 Act.

XI.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows:

       A.      Declaring that this action is a proper class action, designating Plaintiff as Lead

               Plaintiff, and certifying Plaintiff as a Class representative under Rule 23 of the

               Federal Rules of Civil Procedure and Plaintiff’s counsel as Lead Counsel;

       B.      Awarding compensatory damages in favor of Plaintiff and the other Class members

               against all Defendants, jointly and severally, for all damages sustained as a result

               of Defendants’ wrongdoing, in an amount to be proven at trial, including interest

               thereon;

       C.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

               this action, including counsel fees and expert fees; and

       D.      Awarding such equitable, injunctive, or other relief as deemed appropriate by the

               Court.

XII.   JURY DEMAND

       Plaintiff hereby demands a trial by jury.




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DATED: July 12, 2024                      LEVI & KORSINSKY, LLP


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